
PER CURIAM.
This is an appeal from an order of the Circuit Court of the Eleventh Judicial Circuit granting appellee’s motion to dismiss and declaring section 893.135, Florida Statutes (1979), unconstitutional. Since we have upheld the constitutionality of that statute in State v. Yu, 400 So.2d 762 (Fla., 1981) and State v. Benitez, 395 So.2d 514 (Fla., 1981), we reverse the order and remand this case for further proceedings consistent with those decisions.
It is so ordered.
SUNDBERG, C. J., and ADKINS, BOYD, OVERTON, ENGLAND, ALDERMAN and McDONALD, JJ., concur.
